Case 2:05-cr-20101-.]PI\/| Document 18 Filed 05/27/05 Page 1 of 3 Page|D 2§

IN 'I`HE UNITED S'I`A'I`ES DISTRICT COURT FH.ED l
FOR 'I`HE WESTERN DISTRICT OF' TENNESSEE
WESTERN DIVISION :'"i"`-T,i"'="-`§’

 

 

 

U'NITED S'I'ATES OF AMERICA

Plaintiff,
V. Criminal No. &S;C¥EQ/Cp RMl
(»O-a.yD
ti&'Ba¥-Continuance)

 

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CON'I'INUANCE
A_ND EXCLUSION OF TIIVIE

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should he
continued for reasons resulting in the exclusion of time under the

Speedy Trial .Act. The case is currently set on the June, 2005,
7,'/5'
criminal rotation calendar, but is now RESET for report at 9-643-
Ta,ea¢( , Jw&j 3<¢, _
a.m. on ` , &u-ne'~'?=¥, 2005, with trial to take place on the

u+l
§u-l-Y, 2005 rotation calendar with the time excluded under the

A¢cj¢¢Jf-IX
Speedy Trial Act through JHH, 2005. Agreed in open court at

report date this 27ch day of May, 2005.

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Case 2:05-cr-20101-.]PI\/| Document 18 Filed 05/27/05 Page 2 of 3 Page|D 24

50 ORDERED this 27th day of May, 2005.

QW QQQ

JO PHIPPS MCCALLA
UN 'I`ED STATES DISTRICT JUDGE

 

Assistant United States Attorney

 

 

 

Counsel for Defendant(e)

     

UNITED sTATE DRISTIC CoUR - WTERN D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20101 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Sheila D. BroWn

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

L.€lkeland7 TN 38002

Stephen P. Hall

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

